                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       DOCKET NO.: 3:08-CR-00233-MOC-DCK

UNITED STATES OF AMERICA,                           )
                                                    )
                  Plaintiff,                        )
                                                    )
   v.                                               )      ORDER
                                                    )
MIGUEL LORIA,                                       )
                                                    )
                  Defendant.                        )
                                                    )

        THIS MATTER IS BEFORE THE COURT on the “Application For Admission To

Practice Pro Hac Vice” (Document No. 145) filed by Eben T. Rawls, III, concerning Neil G.

Taylor on January 20, 2015. Mr. Neil G. Taylor seeks to appear as counsel pro hac vice for

Defendant Miguel Loria. Upon review and consideration of the motion, which was accompanied

by submission of the necessary fee, the Court will grant the motion.

        IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the

“Application For Admission To Practice Pro Hac Vice” (Document No. 145) is GRANTED.

Mr. Neil G. Taylor is hereby admitted pro hac vice to represent Defendant Miguel Loria.

        SO ORDERED.

                                           Signed: January 30, 2015




   Case 3:08-cr-00233-MOC-DCK             Document 146         Filed 01/30/15   Page 1 of 1
